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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


    CELLULAR COMMUNICATIONS                      §
    EQUIPMENT LLC,                               §
                                                 §
          Plaintiff,                             §            Case No. 2:20-CV-00078-JRG
                                                 §
    v.                                           §
                                                 §             JURY TRIAL DEMANDED
    HMD GLOBAL OY,                               §
                                                 §
           Defendant.                            §

                                 DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

    Sample Dates         Amended Date                            Event
    Provided by the
    Court

    August 2, 2021                              *Jury Selection – 9:00 a.m. in Marshall, Texas

    July 6, 2021                                * If a juror questionnaire is to be used, an editable (in
                                                Microsoft Word format) questionnaire shall be jointly
                                                submitted to the Deputy Clerk in Charge by this date. 1

    June 29, 2021                               *Pretrial Conference – 1:30 p.m. in Marshall, Texas
                                                before Judge Rodney Gilstrap




1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
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June 21, 2021                      *Notify Court of Agreements Reached During Meet
                                   and Confer

                                   The parties are ordered to meet and confer on any
                                   outstanding objections or motions in limine. The
                                   parties shall advise the Court of any agreements
                                   reached no later than 1:00 p.m. three (3) business days
                                   before the pretrial conference.

June 21, 2021                      *File Joint Pretrial Order, Joint Proposed Jury
                                   Instructions, Joint Proposed Verdict Form, Responses
                                   to Motions in Limine, Updated Exhibit Lists, Updated
                                   Witness Lists, and Updated Deposition Designations

June 14, 2021                      *File Notice of Request for Daily Transcript or Real
                                   Time Reporting.

                                   If a daily transcript or real time reporting of court
                                   proceedings is requested for trial, the party or parties
                                   making said request shall file a notice with the Court
                                   and e-mail the Court Reporter, Shelly Holmes, at
                                   shelly_holmes@txed.uscourts.gov.

June 7, 2021     June 10, 2021     File Motions in Limine

                                   The parties shall limit their motions in limine to issues
                                   that if improperly introduced at trial would be so
                                   prejudicial that the Court could not alleviate the
                                   prejudice by giving appropriate instructions to the jury.

June 7, 2021     June 10, 2021     Serve Objections to Rebuttal Pretrial Disclosures

June 1, 2021     June 3, 2021      Serve Objections to Pretrial Disclosures; and Serve
                                   Rebuttal Pretrial Disclosures

May 17, 2021     May 20, 2021      Serve Pretrial Disclosures (Witness List, Deposition
                                   Designations, and Exhibit List) by the Party with the
                                   Burden of Proof




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    May 10, 2021                               *Response to Dispositive Motions (including Daubert
                                               Motions). Responses to dispositive motions that were
                                               filed prior to the dispositive motion deadline, including
                                               Daubert Motions, shall be due in accordance with
                                               Local Rule CV-7(e), not to exceed the deadline as set
                                               forth in this Docket Control Order. 2 Motions for
                                               Summary Judgment shall comply with Local Rule CV-
                                               56.

    April 26, 2021                             *File Motions to Strike Expert Testimony (including
                                               Daubert                                   Motions)

                                               No motion to strike expert testimony (including a
                                               Daubert motion) may be filed after this date without
                                               leave of the Court.

    April 26, 2021                             *File Dispositive Motions

                                               No dispositive motion may be filed after this date
                                               without leave of the Court.

                                               Motions shall comply with Local Rule CV-56 and
                                               Local Rule CV-7. Motions to extend page limits will
                                               only be granted in exceptional circumstances.
                                               Exceptional circumstances require more than
                                               agreement among the parties.

    April 19, 2021      April 22, 2021         Deadline to Complete Expert Discovery

    April 5, 2021       April 8, 2021          Serve Disclosures for Rebuttal Expert Witnesses

    March 15, 2021      March 18, 2021         Deadline to Complete Fact Discovery and File Motions
                                               to Compel Discovery

    March 15, 2021      March 18, 2021         Serve Disclosures for Expert Witnesses by the Party
                                               with the Burden of Proof

    March 10, 2021                             Comply with P.R. 3-7 (Opinion of Counsel Defenses)



2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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February 17, 2021                       *Claim Construction Hearing – 9:00 a.m. in Marshall,
                                        Texas before Judge Rodney Gilstrap

February 3, 2021    February 5, 2021    *Comply with P.R. 4-5(d) (Joint Claim Construction
                                        Chart)

January 27, 2021    February 3, 2021    *Comply with P.R. 4-5(c) (Reply Claim Construction
                                        Brief)

January 20, 2021    January 27, 2021    Comply with P.R.        4-5(b)   (Responsive    Claim
                                        Construction Brief)

January 6, 2021     January 13, 2021    Comply with P.R. 4-5(a) (Opening Claim Construction
                                        Brief) and Submit Technical Tutorials (if any)

                                        Good cause must be shown to submit technical tutorials
                                        after the deadline to comply with P.R. 4-5(a).

January 6, 2021                         Deadline to Substantially Complete          Document
                                        Production and Exchange Privilege Logs

                                        Counsel are expected to make good faith efforts to
                                        produce all required documents as soon as they are
                                        available and not wait until the substantial completion
                                        deadline.

December 23, 2020   December 18, 2020   Comply with P.R. 4-4 (Deadline to Complete Claim
                                        Construction Discovery)

December 16, 2020                       File Response to Amended Pleadings

December 2, 2020                        *File Amended Pleadings

                                        It is not necessary to seek leave of Court to amend
                                        pleadings prior to this deadline unless the amendment
                                        seeks to assert additional patents.

November 25, 2020                       Comply with P.R. 4-3 (Joint Claim Construction
                                        Statement)

November 4, 2020                        Comply with P.R. 4-2 (Exchange Preliminary Claim
                                        Constructions)

October 14, 2020                        Comply with P.R. 4-1 (Exchange Proposed Claim
                                        Terms)




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    August 31, 2020    September 3, 2020      Comply with Standing Order Regarding Subject-
                                              Matter Eligibility Contentions 3

    August 31, 2020    September 3, 2020      Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

    August 10, 2020                           *File Proposed Protective Order and Comply with
                                              Paragraphs 1 & 3 of the Discovery Order (Initial and
                                              Additional Disclosures)

                                              The Proposed Protective Order shall be filed as a
                                              separate motion with the caption indicating whether or
                                              not the proposed order is opposed in any part.

    August 3, 2020                            *File Proposed Docket Control Order and Proposed
                                              Discovery Order

                                              The Proposed Docket Control Order and Proposed
                                              Discovery Order shall be filed as separate motions with
                                              the caption indicating whether or not the proposed
                                              order is opposed in any part.

    July 27, 2020                             Join Additional Parties

    July 6, 2020                              Comply with       P.R.    3-1   &   3-2   (Infringement
                                              Contentions)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

      Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of


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 _http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf             [https://perma.cc/RQN2-
YU5P]



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the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

         Lead Counsel: The Parties are directed to Local Rule CV-11(a), which provides that “[o]n
the first appearance through counsel, each party shall designate a lead attorney on the pleadings or
otherwise.” Additionally, once designated, a party’s lead attorney may on be changed by the filing
of a Motion to Change Lead Counsel and thereafter obtaining from the Court an Order granting
leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,


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written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

      So Ordered this
      Aug 4, 2020




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